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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

UNITED STATES OF AMERICA


V.                                           Case No. CR411-200
MARIO LEONARDO FERRER


                  REPORT AND RECOMMENDATION

      Mario Ferrer, one of the defendants in this drug conspiracy case,

moves to suppress all evidence obtained as a result of a wiretap order

authorizing the government to intercept communications to and from

the telephone of co-conspirator Orestes Ferrer.' (Doc. 102.) He contends

that the government failed to make the statutory showing of necessity

required by 18 U.S.C. § 2518(c)(i), as it resorted to the wiretap "a scant

46 days" after learning of his existence and used the wiretap as its




      1 While the wiretap order did not reference Mario Ferrer as a "target subject"
of the investigation, doe. 102-1 at 4, V 6, he was a party to certain intercepted
communications and thus enjoys the right to challenge the wiretap's legality. 18
U.S.C. § 2518(10)(a)(i).
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"initial investigative tool." Doe. 102 at 2 For the reasons that follow,

his motion should be denied.

I. BACKGROUND

       The Title III application in this case is based on the 56-page

affidavit of Drug Enforcement Administration ("DEA") Agent Robert

Livingston, dated October 12, 2010. Initially, the agent summarized the

information gained during a previous year-long investigation conducted

by an organized crime strike force in New York. (Doe. 102-1 at 14 1127

(Title III aff.).) Through the use of surveillance, confidential informants,

pen registers, and various wiretap orders issued by both state and federal

judges, the strike force had established that Gjavit Thaqi was one of the

leaders of an international criminal syndicate that was engaged in the

importation and distribution of large quantities of marijuana and

cocaine, and in the laundering of the drug proceeds .2 (Id. at 14-15 1127;

id. at 23 1142; id. at 32-33 ¶ 59.) During the investigation, strike force

agents amassed considerable evidence that this criminal organization,

headed by Albanian nationals (id. at 14-15 ¶ 27), was importing over
      2
        Thaqi was arrested and charged in July 2011. See United States v. Lajqi, No.
CR111-486, doc. 7 (E.D.N.Y. filed June 30, 2011) (July 14, 2011 superseding
indictment naming 40 defendants, including Thaqi, in a massive international drug
conspiracy).
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 1,000 pounds of hydroponic marijuana each month for distribution in the

New York area, had sources of supply for marijuana in both Mexico and
Canada (id. at 15 ¶ 28), and also imported cocaine from Columbia and

Venezuela into the United States, Canada, and Europe. (Id. at 14-15 ¶11

27-28.) Though the strike force had seized over $1.2 million in drug

proceeds on one occasion,' it had been reluctant to tip its hand by

making arrests or interdicting individual drug shipments given the scope

of the investigation and its goal of completely dismantling a far-flung

drug enterprise. (Id. at 16-17 ¶ 30.)

      The evidence gained through the ongoing wiretaps in New York

had enabled the agents to identify numerous members of the drug

conspiracy and develop a clearer understanding of its methods of

operation. (Id. at 12-14 ¶ 26; id. at 20-24 ¶11 37-43.) In early August

2010, agents intercepted a series of text messages between Thaqi and

Orestes Ferrer ("Ferrer") regarding the purchase of multiple pounds of

      3 A confidential informant told agents that Thaqi was planning to make a large
payment to his Canadian suppliers. (Doc. 102-1 at 16-17 ¶11 30-31.) Agents followed
Thaqi and his associate, Nicholas Masi, on January 17, 2010 and observed them
rendezvous with another vehicle in the Bronx, whereupon Thaqi transferred a large
bag to the second car. (Id.) Agents followed the second car to another meeting in
Manhattan, this time with a BMW bearing Canadian plates. (Id.) When New York
police officers later stopped the BMW, they found the large bag Thaqi had
transferred in the Bronx and recovered over $1,271,000 in United States currency.


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high-grade marijuana .4 (Id. at 24-30 TT 44-54.) A confidential informant

of proven reliability explained that Ferrer supplied Thaqi and others

with large quantities of marijuana, some of which he produced himself

through indoor grow operations and some of which he acquired from
other suppliers. (Id. at 3 ¶ 4; id. at 7 113; id. at 20 ¶ 36.) The informant

related that Ferrer operated two grow houses in Savannah, producing

some 100 pounds of hydroponic marijuana every 60 days. (Id. at 20 ¶ 36.)

He also had some 10 marijuana suppliers in Florida.' (Id.) On the

wiretap, Ferrer promised Thaqi far more than his bi-monthly harvest,

stating that he could deliver 100 pounds every two weeks "at the
minimum." (Id. at 27 ¶ 48.) Not long thereafter, Thaqi visited Ferrer in

Savannah and inspected his grow operation. (Id. at 29 ¶ 54.)

      In an effort to unravel Ferrer's side of the criminal enterprise,

agents obtained toll records and a pen register on his telephone. (Id. at

32-36 ¶T 59-68.) They discovered that Ferrer regularly contacted Manuel

        Intercepted conversations revealed that Ferrer offered Thaqi a menu of
"designer" marijuana varieties, including Lemon Skunk, AK-47, Northern Lights,
and Silver Haze ranging in price from $3500-3800 per pound. (Doc. 102-1 at 24-25 ¶
44.) In one transaction, Thaqi committed to purchasing $105,000 worth of
marijuana. (Id. at 32 1158.)

      Ferrer had recently moved from South Florida to Savannah, Georgia. (Doe.
102-1at19-20J35;id. at351165.)
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Yzquierdo (179 calls or text messages between July and October 2010),

Tony Palaez (273 calls), Fernando Menendez (24 calls), and Michael

Maleh (202 calls or texts), Amanda Brely (4 calls, but her number also

received frequent calls from Maleh), all of whom resided in South Florida

and had been connected to drug trafficking via criminal database checks

and details provided by informants. (Id.; id. at 51 ¶ 97.) Ferrer also

made numerous calls and texts to a number subscribed to Yakelin

Tamayo (2615 calls and texts), who was listed as residing in a home in

Guyton, Georgia. (Id. at 34 ¶ 65.) Surveillance established that although

the home did not appear to be occupied, it had a $480 electric bill in

September 2010.6 (Id.) Phone records further revealed that Ferrer was

in contact with Revital Shrem (44 calls and texts), an Israeli native. (Id.

at 35 ¶ 67.) According to a reliable informant, Ferrer's grow houses were

financed in part by Israelis. (Id. at 35 ¶ 67.) Ferrer also contacted

Savannah Hydroponics and Organics, a company that sells the special




      6
        The affiant suggested that the residence was likely the site of one of Ferrer's
marijuana grow houses. (Doe. 102-1 at 34 1165.)


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equipment necessary for an indoor marijuana growing operation. He

also called a well drilling company.' (Id. at 36 168.)

       Despite the overwhelming evidence showing that Ferrer was a

major marijuana supplier for the Thaqi organization, the telephone

records and intercepted phone communications suggested that Ferrer

had his own network of partners, customers, suppliers, money

launderers, and assistants, but the picture was hazy at best. (Id. at 42 ¶

80; id. at 42-43 ¶ 81-82.) Of the government's two confidential

informants, one lacked inside information regarding Ferrer's operations,

and the other only knew one of Ferrer's associates, Michael Maleh. That

informant also lived outside of the United States and thus could not

further penetrate Ferrer's organization. (Id. at 44 ¶ 83.) Agents

attempted physical surveillance but found the task to be difficult and

risky since Ferrer resided in a gated community. (Id. at 37-38 ¶ 72.) The

guards were extremely inquisitive and attempted to get agents' names

and vehicle information. (Id.) From their limited vantage point, the

agents could not view the residence to determine whether Ferrer was


      7 Because "hydroponic marijuana grow operations consume a large amount of
water," the growers sometimes drill wells in order to keep costs down and thwart
detection. (Id.)
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present. (Id.) Even a trash pull was difficult under the circumstances.

(Id. at 51 ¶ 96.) In any event, such tactics were unlikely to shed much

new light on the organization or fill in the missing gaps in the agents'

knowledge. (Id. at 47 ¶ 90, 51196.) Ferrer clearly ran his business over

the telephone.

     Because traditional investigative techniques were unlikely to

expose the full scope of Ferrer's activities -- particularly the identity and

role of all his accomplices and sources of supply and his various financial

dealings -- agents approached the Court for Title III authorization.

Persuaded by the government's showing, the Court first approved the

wiretap of Ferrer's phone on October 12, 2010.

II. ANALYSIS

     According to defendant, "a scant 46 days" after learning of Orestes

Ferrer's existence, the government resorted to the wiretap as its "initial

investigative tool" in this case. (Doc. 102 at 2.) Defendant contends that

because conventional investigative techniques were available to, but not

employed by, the agents, the use of the wiretap was unnecessary and

therefore precluded under 18 U.S.C. § 2518(1)(c).




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      An application for a wiretap order must include "a full and

complete statement as to whether or not other investigative procedures

have been tried and failed or why they reasonably appear to be unlikely

to succeed if tried or to be too dangerous." 18 U.S.C. § 2518(1)(c). "The

necessity requirement is designed to ensure that electronic surveillance

is neither routinely employed nor used when less intrusive techniques

will succeed. . . . The affidavit need not, however, show a comprehensive

exhaustion of all possible techniques, but must simply explain the

retroactive or prospective failure of several investigative techniques that

reasonably suggest themselves." United States v. Van Horn, 789 F.2d

1492, 1495-96 (11th Cir. 1986). The government's showing of necessity

"must be read in a 'practical and commonsense fashion," and the district

court is entitled to "broad discretion" in making its assessment of

necessity. United States v. Alonso, 740 F.2d 862, 868 (11th Cir. 1984).

An order authorizing a wiretap "will not be overturned 'simply because

defense lawyers are able to suggest post factum some investigative

technique that might have been used and was not." Id. at 869 (quoting

United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978)).
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       Defendant's contention that the government resorted to the

wiretap of Ferrer's phone as "its initial investigative tool" is not

supported by the record.' Strike force agents in New York had

intercepted a series of text messages between Ferrer and Thaqi

discussing the purchase and transportation of large quantities of

marijuana that were either being grown by Ferrer in Savannah or could

be acquired from his various Florida suppliers. (Doc. 102-1 at 24-32, ¶11

44-58.) The information gleaned through the New York wire intercepts

was confirmed by a reliable informant, who advised the agents that

Ferrer was supplying large quantities of marijuana to Thaqi, some of

which Ferrer grew himself at his two Savannah grow houses and some of

which he acquired from his own marijuana suppliers in Florida.

Utilizing telephone toll records and pen registers, Agent Livingston

confirmed that Ferrer regularly communicated with individuals who had

criminal records and were suspected drug traffickers. (Id. at 32-36.)

      8
          Nor is there support for defendant's claim that the government sought the
wiretap "a scant 46 days" after learning of his existence. While Agent Livingston
may not have learned of Ferrer's existence until August 27, 2010, (doe. 102-1 at 4 ¶
4), the New York strike force agents (who had been investigating Thaqi's criminal
organization for more than a year) had flagged Ferrer as a person of interest weeks
prior to Livingston's involvement in the investigation. Because strike force agents
first intercepted phone calls between Ferrer and Thaqi on August 3, 2010, (doe. 102-1
at 19 135), the investigation of Ferrer's activities had been ongoing for 70 days, not a
"scant 46" as Ferrer contends.
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Agents had attempted surveillance of Ferrer's activities but were

frustrated in their efforts by the inquisitive guards who protected his
gated community. (Id. at 37-38.) Thus, the claim that the agents used

the wiretap of Ferrer's phone as their initial investigative technique is

plainly incorrect.'


          Defendant also suggests that the affidavit seeks to "shoe-horn" an earlier
necessity finding against Thaqi into the Ferrer wiretap affidavit, which amounts to
an impermissible attempt to transfer a statutory showing of necessity from one Title
III application to another. (Doc. 102 at 15.) In support of this assertion, defendant
cites to United States v. Gonzalez, Inc., 412 F.3d 1102 (9th Cir. 2005). In that case,
agents painstakingly gathered evidence linking a public bus company to an alien
smuggling operation. Id. at 1106-07. After building a very solid case, they conducted
a brief investigation into the company's home office before requesting a wiretap to
intercept incriminating evidence linking its top brass to the smuggling ring. Id. at
1107. Prior to the headquarters wiretap, the agents had employed five days of pen
registers and trap-and-trace analysis, limited physical surveillance, and a preliminary
attempt to place an undercover agent. Id. The wiretap was approved, but the
district judge excluded any evidence derived from it, since the affidavit failed to show
that traditional investigative procedures had been tried and failed, were unlikely to
succeed if attempted, or were too dangerous to attempt. Id. at 1110. The Ninth
Circuit affirmed.

       While there are parallels to this case, Gonzalez, Inc., is easily distinguishable.
Most fundamentally, the agents in that case were looking for primary evidence
linking certain high-level employees to the criminal activities of their bus line.
Rather than attempting basic investigatory tactics that had succeeded earlier in the
case, the agents almost immediately obtained a wiretap. Here, however,
investigating agents already had Orestes Ferrer dead to rights. The Thaqi wiretap,
along with information from confidential informants and Ferrer's own telephone
logs, supplied ample probable cause to arrest and indict Ferrer and to obtain search
warrants for his Savannah residences. (Doc. 102-1 at 5 II 8.) The "necessity" here
was targeted at uncovering the rest of the conspiracy. Additionally, Agent Livingston
noted that there were dangers at play here that were absent in Gonzalez, Inc. There,
the affiant failed to offer any statements supporting a finding that law enforcement
had reason to fear danger with anyone associated with the office under investigation.


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       The question remains, however, whether the wiretap was

necessary. The burden of establishing necessity is "not great." United

States v. Acosta, - F. Supp. 2d -, 2011 WL 2401829 at *68 (N.D. Ga.

June 13, 2011) (quoting and citing United States v. Gray, 410 F.3d 338,

343 (7th Cir. 2005)). "The statute was not intended 'to foreclose

electronic surveillance until every other imaginable method of

investigation has been unsuccessfully attempted, but simply to inform

the issuing judge of the difficulties involved in the use of conventional
techniques." United States v. De La Cruz Suarez, 601 F.3d 1202, 1214

(11th Cir. 2010) (quoting Alonso, 740 F.2d at 868). Hence, "a

comprehensive exhaustion of all possible investigative techniques is not

necessary before applying for a wiretap." Id. at 1214 (citing Alonso, 740

F.2d at 868); United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978)

(same)." In making the determination, courts should evaluate wiretap

affidavits "in a 'common sense fashion,' and 'the determination of when

the Government has satisfied [the statutory] requirement must be made

against flexible standards, and . . . each case must be examined on its

      10
           Hyde is binding Eleventh Circuit authority. See Bonner v. City of Prichard,
661 F.2d 1206 1 1209 (11th Cir. 1981) (en bane) (adopting as binding precedent all
decisions of the former Fifth Circuit handed down prior to October 1, 1981).


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own facts." United States v. Miller, 431 F. App'x 847, 853 (11th Cir.

2011) (quoting Hyde, 574 F.2d at 867).

      Agents investigating Ferrer had gathered considerable information

against him before applying for a wiretap on his personal phone. Agent

Livingston concluded, however, that further use of conventional

investigative techniques would be unlikely to achieve the goal of

unraveling the full scope of Ferrer's own activities, much less of

identifying all of his associates and developing sufficient evidence to

secure their convictions. He discussed his concerns at length, explaining

that physical surveillance and trash pulls were limited based upon

Ferrer's relative seclusion in a gated community." (Doc. 102-1 at 37 ¶


          Defendant insists that the agents should have conducted surveillance at
Orestes' "primary" Florida address. (Doc. 102 at 5.) The affidavit makes clear,
however, that Ferrer was "currently residing" in Savannah rather than in Florida,
where he had "previously" lived. (Doc. 102-1 at 19-20 ¶ 35.) He also insists that
there is ambiguity over whether the agents employed trash pulls. (Doe. 102 at 5.)
The affidavit suggests that trash pulls were used during the investigation (doe. 102-1
at 41 11 78), but were not used at Ferrer's residence in the gated Savannah
neighborhood. (Id. at 51 ¶ 96.)

       In a related vein, defendant insists that these "ambiguities" provide grounds
for a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1956). (Doe. 102 at 15-
16.) Under Franks, a defendant is entitled to peer behind an affidavit in support of a
wiretap order where a he makes a substantial preliminary showing that the affiant
knowingly and intentionally, or with a reckless disregard for the truth, included
misleading information that was material to the finding of necessity. United States v.
Wilson, 314 F. App'x 239, 243-44 (11th Cir. 2009); see United States v. Novaton, 274
F.3d 968, 896 (11th Cir. 2001) (applying Franks to a wiretap affidavit where

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72.) Further physical surveillance and additional trash pulls offered

little promise of uncovering the full scope of the conspiracy even under

ideal circumstances. In Agent Livingston's experience, drug dealers

generally attempt to prevent their associates from meeting other

suppliers or customers for fear of being cut out of future transactions

and to prevent penetration by government agents. (Doc. 102-1 at 44-45

¶11 85-86.) The circumstances here were not ideal, however. The

conspirators had already exhibited cautious behavior designed to thwart

surveillance, including swapping prepaid phones on a regular basis and

performing counter-surveillance. 12 They had also been alerted to police

activities. (Id. at 45-47 ¶J 87-88.) One of Thaqi's associates, Masi, had

discovered a GPS unit on his vehicle. (Id. at 43-44 ¶ 83.) While the

statements were allegedly material to the finding of probable cause); United States v.
Kelley, 2009 WL 2589086 at *2..3 (S.D. Ala. Aug. 17, 2009); United States v. Ortega-
Estrada, 2008 WL 4716949 at *1546 (N.D. Ga. Oct. 22, 2008); United States v.
Olmedo, 552 F. Supp. 2d 1347, 1369-70 (S.D. Fla. Apr. 28, 2008); United States v.
Flores, 2007 WL 2904109 at *64, 31-36 (R&R portion of the order) (N.D. Ga. Sept.
27, 2007). Reading the affidavit as a whole, any ambiguities were simply not material
to the necessity finding. And defendant hasn't come forward with any extra-affidavit
evidence suggesting that Livingston made material misrepresentations. He has not
-come close to showing the requisite level of scienter, so his request for a Franks
hearing was properly denied.
      12
         Thaqi advised Ferrer that he regularly changed his "work" number. (Doe.
102-1 at 28 ¶ 51.)




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investigators had developed two confidential informants who furnished

helpful information about Ferrer's role in the drug enterprise, (doc. 102-

1 at 19-20 ¶ 36 ) 44 ¶ 83), those informants had only limited knowledge of

Ferrer's activities and were not in a position to develop contacts with his

other customers or suppliers. (Id. at 44-45 ¶11 83-86.) Nor was Agent

Livingston aware of any other informant with such knowledge, and he

did not think it feasible that an undercover agent might safely infiltrate

Ferrer's organization. (Id. at 45-46 ¶ 88.) Additionally, resort to search

warrants or a grand jury investigation was premature, since those tactics

would give away the ongoing investigation. (Id. at 48-50 ¶11 92-93); see

Sills v. United States, 395 F. App'x 570, 572-73 (11th Cir. 2010)

(defendant's contention that the Title III affidavit showed impatience

rather than an earnest attempt to investigate rejected; affidavit was

sufficient since it summarized a wide range of techniques attempted or

considered, explained that the informants available had little knowledge

of the inner workings of the conspiracy, noted that the members were a

close knit group unlikely to trust undercover agents, and explained that

warrants and subpoenas would alert the conspirators to the

investigation).


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      Defendant insists that the investigating agents could have done

more. That is almost always true. Given adequate time and funding,

state and federal agencies could have assembled sufficient man power to

tail Ferrer and every person identified through his telephone records

morning, noon, and night, and well-executed drug stops might have

netted additional informants without tipping off the other conspirators.

But even if the investigators went to such extreme lengths, they would

have been unlikely to uncover the full scope of this conspiracy, which

conducted much of its business by telephone and reached across state

and even national lines.

      Defendant is reminded that the government sets the scope of the

investigation. Where it hopes to cast a wide net, agents may turn to a

wiretap to learn the full scope of a conspiracy, even where conventional

techniques would allow for the prosecution of specific conspirators. See

Miller, 431 F. App'x at 843-54 (in a broad drug conspiracy, even if certain

information could have been uncovered through the use of traditional

methods, a wiretap would still be necessary to fully flesh out the criminal

enterprise); United States v. Olmedo, 552 F. Supp. 2d 1347, 1365 (S.D.

Fla. 2008) ("where conventional techniques will not show the entire


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scope of the conspiracy, a wiretap is permissible, even in those situations

where conventional techniques will allow for the arrest and conviction of

some members")." In any event, such extreme efforts to avoid use of a

wiretap were not required. Alonso, 740 F.2d at 868. "Necessity" should

not be read in such an "overly restrictive manner." Acosta, 2011 WL

2401829 at *69 (quoting United States v. Wilson, 484 F.3d 267, 281 (4th

Cir. 2007)).

      The Court is satisfied that the affidavit showed the requisite

necessity, since the investigators could not have uncovered the full

breadth of the conspiracy in a relatively safe manner without using a

wiretap. United States v. Degaule, 797 F. Supp. 2d 1332, 1357-61 (N.D.

Ga. 2011). Consequently, the issuing judge's necessity determination

was valid and defendant's motion fails.



      13
          Courts across the nation have repeatedly held that agents may use a wiretap
to uncover the full scope of a drug conspiracy where other methods could compromise
the investigation or place agents in danger. United States v. Johnson, 393 F. App'x
240, 241-42 (5th Cir. 2010); United States v. Armenta, 373 F. App'x 685, 688-89 (9th
Cir. 2010); United States v. Wilson, 314 F. App'x 239, 243 (11th Cir. 2009); United
States v. Carter, 449 F.3d 1287, 1293 (D.C. Cir. 2006); United States v. Jackson, 345
F.3d 638, 644-45 (8th Cir. 2003) (same); see also United States v. Perez, 661 F.3d 5681
582 (11th Cir. 2011) (in robbery conspiracy case, the fact that the government could
gather enough evidence to prosecute a defendant did not undermine the wiretap's
necessity; the government still had a limited knowledge of the full extent of his
activities and coconspirators).

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III. CONCLUSION

     For all of the reasons explained above, the motions to suppress

(doc. 102) should be DENIED.

     SO REPORTED AND RECOMMENDED this                             day of
February, 2012.

                                       UNITED          GISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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